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                    EXHIBIT B
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 KAIFI LLC,

              Plaintiff,                            CASE NO. 2:20-CV-281-JRG
        v.
                                                     JURY TRIAL DEMANDED
 T-MOBILE US, INC. and T-MOBILE USA,
 INC.,

              Defendants.


 KAIFI LLC,

              Plaintiff,

        v.

 VERIZON COMMUNICATIONS INC.,
 CELLCO PARTNERSHIP D/B/A VERIZON                   CASE NO. 2:20-CV-280-JRG
 WIRELESS, VERIZON SERVICES CORP.,
 VERIZON ENTERPRISE SOLUTIONS,                       JURY TRIAL DEMANDED
 LLC, VERIZON BUSINESS GLOBAL LLC,
 VERIZON BUSINESS NETWORK
 SERVICES, LLC, VERIZON CORPORATE
 SERVICES GROUP INC., VERIZON DATA
 SERVICES, LLC, VERIZON MEDIA INC.,
 and VERIZON ONLINE, LLC,

              Defendants.


 LETTER OF REQUEST: REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
       PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
  THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS


 GREETINGS:

  1. Sender                                The Honorable Rodney Gilstrap
                                           United States District Court for the Eastern
                                           District of Texas

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                                                     Sam B. Hall, Jr. Federal Building and United
                                                     States Courthouse
                                                     100 East Houston Street
                                                     Marshall, Texas 75670
                                                     USA
  2. Central Authority of the Requested State        National Court Administration
                                                     Attn: Director of International Affairs
                                                     Seocho-daero 219
                                                     Seocho-gu
                                                     Seoul 06590
                                                     Republic of Korea
  3. Person to whom the executed request is to       This Court; representatives of the parties as
  be returned                                        indicated below; the witnesses from whom
                                                     evidence is requested as indicated below; and
                                                     such other person(s) that you deem proper.
  4. Specification of the date by which the          As soon as reasonably practicable.
  requesting authority requires receipt of the
  response to the Letter of Request                  Reason for urgency: The court’s designated
                                                     deadline for submitting documentary and
                                                     testimonial evidence in this case is July 9,
                                                     2021. Defendants respectfully request
                                                     prompt execution of this Request given the
                                                     deadline above.

        In conformity with Article 3 of the Hague Convention on the Taking of Evidence Abroad

 in Civil or Commercial Matters (“Hague Convention”) and Federal Rule of Civil Procedure

 28(b) and 28 U.S.C. § 1781(b), the undersigned authority respectfully has the honor to submit

 the following request:

  5.    a.    Requesting Judicial Authority           The Honorable Rodney Gilstrap
              (Article 3, a)                          United States District Court for the Eastern
                                                      District of Texas
                                                      Sam B. Hall, Jr. Federal Building and United
                                                      States Courthouse
                                                      100 East Houston Street
                                                      Marshall, Texas 75670
                                                      USA
        b.    To the competent Authority of           Republic of Korea
              (Article 3, a)
        c.    Name of the case and any                KAIFI LLC v. T-Mobile US, Inc., et al., Case
              identifying number                      No. 2:20-cv-00281-JRG, United District
                                                      Court for the Eastern District of Texas.




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                                                   KAIFI LLC v. Verizon Communications, Inc.,
                                                   et al., Case No. 2:20-cv-00280-JRG, United
                                                   States District Court for the Eastern District
                                                   of Texas.
  6.   Names and addresses of the parties and their representative (including representatives in
       the requested State) (Article 3, b)
       a.    Plaintiff                             KAIFI LLC (“KAIFI”)
       Representatives                             Enoch H. Liang
                                                   Michael J. Song
                                                   Vincent M. Pollmeier
                                                   LTL ATTORNEYS LLP
                                                   300 S. Grand Ave., 14th Fl.
                                                   Los Angeles, California 90071
                                                   Telephone: (213) 612-8900
                                                   Facsimile: (213) 612-3773
                                                   Email: enoch.liang@ltlattorneys.com
                                                   Email: michael.song@ltlattorneys.com
                                                   Email: vincent.pollmeier@ltlattorneys.com

                                                   Robert Christopher Bunt
                                                   PARKER, BUNT & AINSWORTH PC
                                                   100 E. Ferguson St., Suite 418
                                                   Tyler, Texas 75702
                                                   Email: rcbunt@pbatyler.com
       b.   Defendants                             T-Mobile US, Inc. and T-Mobile USA, Inc.
                                                   (collectively, “T-Mobile”); and Verizon
                                                   Communications Inc., Cellco Partnership
                                                   d/b/a Verizon Wireless, Verizon Services
                                                   Corp., Verizon Enterprise Solutions, LLC,
                                                   Verizon Business Global LLC, Verizon
                                                   Business Network Services, LLC, Verizon
                                                   Corporate Services Group, Inc., Verizon Data
                                                   Services, LLC, Verizon Media Inc., and
                                                   Verizon Online, LLC (collectively,
                                                   “Verizon,” and collectively with T-Mobile,
                                                   “Defendants”).
       Representatives                             Josh A. Krevitt
                                                   Benjamin Hershkowitz
                                                   Katherine Q. Dominguez
                                                   Paul J. Kremer
                                                   GIBSON, DUNN & CRUTCHER LLP
                                                   200 Park Avenue
                                                   New York, New York 10166-0193
                                                   Telephone: (212) 351-4000
                                                   Facsimile: (212) 351-4035
                                                   Email: jkrevitt@gibsondunn.com


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                                                      Email: bhershkowitz@gibsondunn.com
                                                      Email: kdominguez@gibsondunn.com
                                                      Email: pkremer@gibsondunn.com

                                                      Nathan R. Curtis
                                                      GIBSON, DUNN & CRUTCHER LLP
                                                      2001 Ross Avenue
                                                      Dallas, Texas 75201-2923
                                                      Tel: (214) 698-3423
                                                      Fax: (214) 571-2961
                                                      Email: ncurtis@gibsondunn.com

                                                      Melissa R. Smith
                                                      GILLAM & SMITH, LLP
                                                      303 S. Washington Ave.
                                                      Marshall, TX 75670
                                                      Telephone: (903) 934-8450
                                                      Facsimile: (903) 934-9257
                                                      Email: melissa@gillamsmithlaw.com
  7.   a.   Nature of the proceedings (divorce,       This is a civil action alleging patent
            paternity, breach of contract,            infringement under the patent laws of the
            product liability, etc.) (Article 3, c)   United States.

                                                      The above-captioned cases concern the same
                                                      Plaintiff and the same asserted patent, and
                                                      thus the information sought in these requests
                                                      is equally relevant to issues common to both
                                                      litigations. For convenience and conservation
                                                      of judicial resources, counsel for T-Mobile
                                                      and Verizon have therefore coordinated to file
                                                      this single, consolidated set of requests under
                                                      the Hague Convention applicable to both
                                                      cases.
       b.   Summary of complaint                      The complaint alleges that T-Mobile infringes
                                                      U.S. Patent No. 6,922,728 (the “728 patent”)
                                                      by making, using, selling, offering to sell,
                                                      and/or importing certain wireless/cellular
                                                      instrumentalities. KAIFI alleges it is entitled
                                                      to damages constituting, in part, a reasonable
                                                      royalty on a license for the 728 patent. KAIFI
                                                      also alleges it is entitled to an injunction
                                                      preventing T-Mobile’s alleged continuing
                                                      infringement of the 728 patent. KAIST is the
                                                      original assignee named on the face of the
                                                      728 patent. The 728 patent was then




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                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.

                                           The complaint alleges that Verizon infringes
                                           U.S. Patent No. 6,922,728 (the “728 patent”)
                                           by making, using, selling, offering to sell,
                                           and/or importing certain wireless/cellular
                                           instrumentalities. KAIFI alleges it is entitled
                                           to damages constituting, in part, a reasonable
                                           royalty on a license for the 728 patent. KAIFI
                                           also alleges it is entitled to an injunction
                                           preventing Verizon’s alleged continuing
                                           infringement of the 728 patent. KAIST is the
                                           original assignee named on the face of the
                                           728 patent. The 728 patent was then
                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.
       c.   Summary of defenses            In defense against KAIFI’s claims of patent
                                           infringement, T-Mobile asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. T-Mobile also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. T-Mobile further asserts
                                           that the claims of the 728 patent are invalid
                                           under at least 35 U.S.C. §§ 102, 103, and 112;
                                           are ineligible for patent protection under 35
                                           U.S.C. § 101; and are unenforceable under
                                           equitable doctrines that include, but are not
                                           limited to, estoppel, unclean hands, waiver,
                                           and implied waiver.

                                           In defense against KAIFI’s claims of patent
                                           infringement, Verizon asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. Verizon also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. Verizon further asserts that
                                           the claims of the 728 patent are invalid under
                                           at least 35 U.S.C. §§ 102, 103, and 112; are
                                           ineligible for patent protection under 35



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                                                  U.S.C. § 101; and are unenforceable under
                                                  equitable doctrines that include, but are not
                                                  limited to, estoppel, unclean hands, waiver,
                                                  and implied waiver. Finally, Verizon asserts
                                                  that the KAIFI’s claims for damages are
                                                  statutorily limited under at least 35 U.S.C. §§
                                                  286 and 287; that KAIFI is barred from
                                                  recovering costs under 35 U.S.C. § 288; and
                                                  that claims for relief are limited under the
                                                  doctrines of full compensation, exhaustion,
                                                  and/or first sale.

                                                  KAIST has knowledge and information
                                                  relevant to Defendants’ defenses, including
                                                  Defendants’ contentions that the 728 patent is
                                                  invalid under United States patent law.
       d.   Other necessary information or        KAIST’s current address is:
            documents
                                                  Korea Advanced Institute of Science &
                                                  Technology
                                                  373-1, Kusong-Dong
                                                  Yusong-Gu
                                                  Daejon 305-701
                                                  Republic of Korea
  8.   a.   Evidence to be obtained or other      Oral testimony of the designated witnesses
            judicial act to be performed (Article relating to questions in Attachment A.
            3, d)
                                                  As the original assignee named on the face of
                                                  the 728 patent, KAIST possesses information
                                                  relevant to Defendants’ defenses to the
                                                  complaint’s allegations of infringement of the
                                                  728 patent and other aspects of the underlying
                                                  case, including but not limited to Defendants’
                                                  invalidity defense, KAIFI’s claim for
                                                  damages, and documents relating to the
                                                  alleged invention(s) of the 728 patent. For
                                                  example, KAIST possesses knowledge
                                                  relating to the alleged invention and patenting
                                                  of the 728 patent (including prior art);
                                                  ownership of the 728 patent; licensing of the
                                                  728 patent and related or comparable patents;
                                                  valuation of the 728 patent and related or
                                                  comparable patents; and settlements, licenses,
                                                  or other financial interests in the 728 patent.
                                                  The evidence sought is directly relevant to the
                                                  issues in dispute.


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                                                      Defendants have no recourse to seek this
                                                      information other than to enlist the aid of this
                                                      Authority through the Hague Convention.
       b.   Purpose of the evidence or judicial       The evidence sought is directly relevant to the
            act sought                                issues in dispute. In particular, Defendants
                                                      seek testimony regarding the witness
                                                      examination questions listed in Attachment A.
                                                      The relevance of each question is explained
                                                      below:

                                                       1. KAIST is the original assignee named on
                                                          the face of U.S. Patent No. 6,922,728 (the
                                                          “728 patent”) (see KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶ 25) and the
                                                          location where the 728 patent was
                                                          purportedly developed (and the employer
                                                          of Dong-Ho Cho (“the Named
                                                          Inventor”)) (see KAIFI LLC’s Complaint,
                                                          Dkt. No. 1, ¶ 28, stating that Dong-Ho
                                                          Cho “is currently a professor of electrical
                                                          engineering at KAIST” and “has been the
                                                          Dean of the College of Information
                                                          Science & Technology at KAIST [and]
                                                          served as the director of KAIST’s
                                                          Wireless Power Transfer Technology
                                                          Research Center”). KAIST’s patent-
                                                          related activities are managed by
                                                          KAIST’s Intellectual Property and
                                                          Technology Transfer Center (“KAIST
                                                          IPTC”). As employees of KAIST IPTC,
                                                          the witnesses possess knowledge of their
                                                          employment and job duties and
                                                          responsibilities. This information is
                                                          relevant at least to Defendants’ invalidity
                                                          and damages defenses.
                                                       2. KAIST is the original assignee named on
                                                          the face of the 728 patent (see KAIFI
                                                          LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                                          the location where the 728 patent was
                                                          purportedly developed (and the employer
                                                          of the Named Inventor) (see KAIFI
                                                          LLC’s Complaint, Dkt. No. 1, ¶ 28,
                                                          stating that Dong-Ho Cho “is currently a
                                                          professor of electrical engineering at
                                                          KAIST” and “has been the Dean of the



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                                              College of Information Science &
                                              Technology at KAIST [and] served as the
                                              director of KAIST’s Wireless Power
                                              Transfer Technology Research Center”).
                                              KAIST’s patent-related activities are
                                              managed by KAIST IPTC. As employees
                                              of KAIST IPTC, the witnesses would
                                              possess knowledge and awareness of
                                              certain references pertinent to the
                                              prosecution of the 728 patent. This
                                              information is relevant at least to
                                              Defendants’ invalidity defenses.
                                           3. KAIST was the original assignee named
                                              on the face of the 728 patent (see KAIFI
                                              LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                              held the assignment for approximately
                                              13 years (according to records of the
                                              United States Patent and Trademark
                                              Office (“USPTO”)), before the 728 patent
                                              was reassigned to Intellectual Discovery
                                              Co., Ltd. (“Intellectual Discovery”)
                                              (according to USPTO records). KAIST’s
                                              patent-related activities are managed by
                                              KAIST IPTC. As employees of KAIST
                                              IPTC, the witnesses would possess
                                              knowledge relating to the public use,
                                              commercialization, license, sale,
                                              assignment, ownership, valuation and the
                                              like concerning the 728 patent or
                                              portfolio of patents containing the 728
                                              patent. This information is relevant at
                                              least to Defendants’ damages defenses.
                                           4. KAIST was the original assignee named
                                              on the face of the 728 patent (see KAIFI
                                              LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                              held the assignment for approximately
                                              13 years before the 728 patent was
                                              reassigned to Intellectual Discovery
                                              (according to USPTO records). KAIST’s
                                              patent-related activities are managed by
                                              KAIST IPTC. As employees of KAIST
                                              IPTC, the witnesses would possess
                                              knowledge relating to revenues,
                                              compensation, consideration, costs,
                                              expenses, and profits generated, received,
                                              or to be received in connection with



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                                               KAIST’s ownership of the 728 patent.
                                               This information is relevant at least to
                                               Defendants’ damages defenses.
                                            5. KAIST was the original assignee named
                                               on the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               held the assignment for approximately
                                               13 years before the 728 patent was
                                               reassigned to Intellectual Discovery
                                               (according to USPTO records). KAIST’s
                                               patent-related activities are managed by
                                               KAIST IPTC. As employees of KAIST
                                               IPTC, the witnesses would possess
                                               knowledge concerning KAIST’s efforts to
                                               enforce the 728 patent, including the
                                               infringement analysis report or its
                                               equivalent generated in connection of the
                                               assignment of the 728 patent to
                                               Intellectual Discovery. This information
                                               is relevant at least to Defendants’
                                               invalidity and damages defenses.
                                            6. KAIST is a purported teaching and
                                               research institution and the original
                                               assignee named on the face of the 728
                                               patent (see KAIFI LLC’s Complaint, Dkt.
                                               No. 1, ¶ 25) and the location where the
                                               728 patent was purportedly developed
                                               (and the employer of the Named Inventor)
                                               (see KAIFI LLC’s Complaint, Dkt. No. 1,
                                               ¶ 28, stating that Dong-Ho Cho “is
                                               currently a professor of electrical
                                               engineering at KAIST” and “has been the
                                               Dean of the College of Information
                                               Science & Technology at KAIST [and]
                                               served as the director of KAIST’s
                                               Wireless Power Transfer Technology
                                               Research Center”). KAIST’s patent-
                                               related activities are managed by KAIST
                                               IPTC. As employees of KAIST IPTC,
                                               the witnesses would possess
                                               presentations, lecture notes, and course
                                               syllabi allegedly relating to the
                                               technology claimed in the alleged
                                               invention(s) of the 728 patent. This
                                               information is relevant at least to




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                                               Defendants’ invalidity and damages
                                               defenses.
                                            7. KAIST was the original assignee named
                                               on the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               held the assignment for approximately
                                               13 years before the 728 patent was
                                               reassigned to Intellectual Discovery
                                               (according to USPTO records). KAIST
                                               was also the employer of the Named
                                               Inventor (see KAIFI LLC’s Complaint,
                                               Dkt. No. 1, ¶ 28, stating that Dong-Ho
                                               Cho “is currently a professor of electrical
                                               engineering at KAIST” and “has been the
                                               Dean of the College of Information
                                               Science & Technology at KAIST [and]
                                               served as the director of KAIST’s
                                               Wireless Power Transfer Technology
                                               Research Center”). Intellectual
                                               Discovery held the assignment for nearly
                                               four years, according to USPTO records.
                                               Then, Intellectual Discovery purportedly
                                               assigned the 728 patent to KAIFI LLC
                                               (USPTO records). KAIST’s patent-
                                               related activities are managed by KAIST
                                               IPTC. As employees of KAIST IPTC,
                                               the witnesses would possess knowledge
                                               concerning employee policies and
                                               procedures, employment agreements,
                                               assignment agreements, and royalty
                                               agreements. This information is relevant
                                               at least to Defendants’ damages defenses.
                                            8. KAIST was the original assignee named
                                               on the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               held the assignment for approximately
                                               13 years before the 728 patent was
                                               reassigned to Intellectual Discovery
                                               (according to USPTO records). KAIST’s
                                               patent-related activities are managed by
                                               KAIST IPTC. As employees of KAIST
                                               IPTC, the witnesses would possess
                                               policies and practices concerning patent
                                               licensing or commercialization. This
                                               information is relevant at least to
                                               Defendants’ damages defenses.



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                                            9. KAIST was the original assignee named
                                               on the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               held the assignment for approximately
                                               13 years before the 728 patent was
                                               reassigned to Intellectual Discovery
                                               (according to USPTO records). KAIST’s
                                               ownership, management, and
                                               organizational structure are relevant at
                                               least to Defendants’ enforceability and
                                               damages defenses. As employees of
                                               KAIST IPTC, the witnesses would
                                               possess this knowledge.
                                            10. KAIST was the original assignee named
                                               on the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               held the assignment for approximately
                                               13 years before the 728 patent was
                                               reassigned to Intellectual Discovery
                                               (according to USPTO records). KAIST’s
                                               past and present electronic data and
                                               document maintenance and retention
                                               procedures and policies are relevant at
                                               least to Defendants’ invalidity and
                                               damages defenses. As employees of
                                               KAIST IPTC, the witnesses would
                                               possess this knowledge.
                                            11. (For witness Sung-Chul Shin only):
                                               KAIST was the location where the 728
                                               patent was purportedly developed, was
                                               the employer of the Named Inventor (see
                                               KAIFI LLC’s Complaint, Dkt. No. 1,
                                               ¶ 28, stating that Dong-Ho Cho “is
                                               currently a professor of electrical
                                               engineering at KAIST” and “has been the
                                               Dean of the College of Information
                                               Science & Technology at KAIST [and]
                                               served as the director of KAIST’s
                                               Wireless Power Transfer Technology
                                               Research Center”), and was the original
                                               assignee named on the face of the 728
                                               patent (see KAIFI LLC’s Complaint, Dkt.
                                               No. 1, ¶ 25). Also, KAIST held the
                                               assignment for approximately 13 years
                                               (according to USPTO records).
                                               According to public records, KAIST



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                                                        performed an investigation of the Named
                                                        Inventor relating to the Named Inventor’s
                                                        participation in what have been described
                                                        as fake academic conferences, including
                                                        OMICS (see, e.g., the following online
                                                        news article:
                                                        https://www.hankookilbo.com/News/Rea
                                                        d/201910101608378144?did=NA&dtype
                                                        =&dtypecode=&prnewsid). Also
                                                        according to public records, Sung-Chul
                                                        Shin attended and spoke at the inspection
                                                        meeting relating to the Named Inventor’s
                                                        participation in what have been described
                                                        as fake academic conferences, including
                                                        OMICS. Thus, Sung-Chul Shin would
                                                        possess knowledge relating to the
                                                        investigation of the Named Inventor’s
                                                        participation in such conferences. This
                                                        information is relevant at least to
                                                        Defendants’ enforceability and damages
                                                        defenses.
   9.   Identity and address of any person to be    Kim Kwon
        examined (Article 3, e)                     KAIST Intellectual Property and Technology
                                                    Transfer Center
                                                    Industrial Property Rights Management
                                                    193 Munji-ro
                                                    Yuseong-gu
                                                    Daejeon 34051
                                                    Republic of Korea

                                                    Park Ho Cheul
                                                    KAIST Dogok Campus (4th Floor, Office
                                                    #410-11)
                                                    25, Nonhyeon-ro 28-gil
                                                    Gangnam-gu
                                                    Seoul 06301
                                                    Republic of Korea

                                                    Kim Hee Tae
                                                    KAIST Intellectual Property and Technology
                                                    Transfer Center
                                                    Technology Transfer
                                                    193 Munji-ro
                                                    Yuseong-gu
                                                    Daejeon 34051
                                                    Republic of Korea



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                                                         Seo Moon Jong
                                                         KAIST Intellectual Property and Technology
                                                         Transfer Center
                                                         Technology Transfer Marketing
                                                         193 Munji-ro
                                                         Yuseong-gu
                                                         Daejeon 34051
                                                         Republic of Korea

                                                         Choi Bong Geun
                                                         KAIST Intellectual Property and Technology
                                                         Transfer Center
                                                         Technology Transfer Post Management
                                                         193 Munji-ro
                                                         Yuseong-gu
                                                         Daejeon 34051
                                                         Republic of Korea

                                                         Sung-Chul Shin
                                                         President
                                                         Korea Advanced Institute of Science &
                                                         Technology
                                                         291 Daehak-ro,
                                                         Yusong-Gu
                                                         Daejon 34141
                                                         Republic of Korea
   10.   Questions to be put to the persons to be        See Attachment A (Witness Examination
         examined or statement of the subject            Questionnaire)
         matter about which they are to be
         examined (Article 3, f)
   11.   Documents or other property to be               None.
         inspected (Article 3, g)
   12.   Any requirement that the evidence be            The witness(es) should be examined under
         given on oath or affirmation and any            oath.
         special form to be used (Article 3, h)
   13.   Special methods or procedure to be              This Letter of Request includes the following
         followed (e.g., oral or in writing,             requests:
         verbatim, transcript or summary, cross-         • That this Letter of Request be granted and
         examination, etc.) (Article 3, i) and 9)           that evidence-taking proceeding(s) be
                                                            performed on an expedited basis;
                                                         • That an authorized shorthand writer/court
                                                            reporter be present at the examination
                                                            who shall record the oral testimony
                                                            verbatim (in Korean) and prepare a
                                                            transcript of the evidence;


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                                                       •   That a direct examination / re-direct
                                                           examination by Defendants’ Korean
                                                           counsel be allowed under Korean Civil
                                                           Procedure;
                                                       •   That simultaneous interpretation (e.g.,
                                                           whispering translation) by an interpreter
                                                           for either party or counsel be permitted at
                                                           the party’s expense;
                                                       •   That Defendants’ Korean counsel be
                                                           permitted to ask the witness(es) additional
                                                           questions that are related to the subject
                                                           matter set forth in Attachment A;
                                                       •   That KAIFI’s counsel be permitted to ask
                                                           the witness(es) additional questions that
                                                           are related to the subject matter set forth
                                                           in Attachment A; and
                                                       •   That audio recording of the witness
                                                           testimony be provided in electronic form
                                                           to This Court and representatives of the
                                                           parties as indicated above.

                                                       In the event the evidence cannot be taken in
                                                       the manner or location requested, it is to be
                                                       taken in such a manner or location as
                                                       provided by local law. To the extent any
                                                       request in this section is deemed incompatible
                                                       with Korean principles of procedural law, it is
                                                       to be disregarded.
   14.   Request for notification of the time and      This Court respectfully requests that you
         place for the execution of the Request        notify this Court; the representatives of the
         and identity and address of any person to     parties as indicated above; the witness from
         be notified (Article 7)                       whom evidence is requested as indicated
                                                       above; such person(s) that you deem proper;
                                                       and the attorney named below:

                                                       Seong-Soo Park
                                                       Kim & Chang
                                                       75, Saemunan-ro (Crescendo Building),
                                                       Jongno-gu, Seoul, 03182, Korea
                                                       Tel: +82-2-3703-1870
                                                       seongsoo.park@kimchang.com
   15.   Request for attendance or participation of    No judicial personnel of the requesting
         judicial personnel of the requesting          authority will attend or participate.
         authority at the execution of the Letter of
         Request (Article 8)



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   16.   Specification of privilege or duty to       Defendants believe that KAIST does not
         refuse to give evidence under the law of    benefit from any privilege, and does not
         the State of origin (Article 11, b)         endorse the assertion of any such privilege or
                                                     duty.
   17.   The fees and costs incurred which are       Defendants will bear the reimbursable costs
         reimbursable under the second paragraph     associated with this request in accordance
         of Article 14 or under Article 26 of the    with the provisions of the Hague Convention.
         Convention will be borne by:                Please contact Defendants’ counsel at the
                                                     addresses set out under paragraph 6.b above,
                                                     to make any necessary financial
                                                     arrangements.




  DATE OF REQUEST                             __________________ 2021




                                              ___________________________
                                              The Honorable Rodney Gilstrap
                                              United States District Judge
                                              United States District Court for the Eastern District
                                              of Texas, Marshall Division
                                              Sam B. Hall Jr. Federal Building and United States
                                              Courthouse
                                              100 East Houston Street
                                              Marshall, Texas 75670
                                              United States of America
                                              (signature and seal)




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                        ATTACHMENT A




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                                        INSTRUCTIONS

  1.    In responding to the examination questions below, please respond with all information that

        is available to you.

  2.    Any information provided by you will be treated according to the Protective Order in this

        case. If requested, the Protective Order will be provided to you separately.


                   WITNESS EXAMINATION QUESTIONNAIRE: Kim Kwon

  1.    How long have you been employed by KAIST and/or KAIST IPTC?

  2.    What are your job duties and responsibilities in Business Property Rights Management (or

        your current job duties and responsibilities if you have moved to a different group)?

  3.    What are your job duties and responsibilities in your role overseeing all of KAIST’s

        patents?

  4.    Please describe your past employment with KAIST and/or KAIST IPTC, including your

        job duties and responsibilities in each former role.

  5.    Please describe KAIST’s knowledge or awareness, and the circumstances under which

        KAIST became aware, of any of the following references:

        a.     N. Nikolaou, et al., Wireless Technologies Convergence: Results and Experience

               (2000).

        b.     K. Pahlavan, et al., Handoff in Hybrid Mobile Data Networks (2000).

        c.     U.S. Patent No. 7,039,027, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

        d.     U.S. Patent No. 6,243,581, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

  6.    Please describe the assignment of U.S. Patent No. 6,922,728 to Intellectual Discovery Co.,



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        Ltd.

  7.    Please describe any public use, commercialization, purchase, sale, or offer for sale of the

        alleged inventions of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  8.    Please describe any license, offer for license, covenant not to sue, or settlement of or

        concerning U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or of any portfolio

        of patents containing U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  9.    Please describe any valuation prepared of U.S. Patent No. 6,922,728, Korean Patent No.

        XX-XXXXXXX, or of any portfolio of patents containing U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX.

  10.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection

        with U.S. Patent No. 6,922,728 and/or Korean Patent No. XX-XXXXXXX.

  11.   Please explain the methodology used to calculate or otherwise determine revenues,

        compensation, costs, expenses, profits, and/or value of being able to switch automatically

        and without interruption between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract).

  12.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received by KAIST (or

        its employees, agents, parents, or subsidiaries) in connection with the cases brought by

        KAIFI LLC against T-Mobile in the United States District Court for the Eastern District of

        Texas, Case No. 2:20-cv-00281-JRG and KAIFI LLC against Verizon in the United States

        District Court for the Eastern District of Texas, Case No. 2:20-cv-00280-JRG.




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  13.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with the assignment of U.S. Patent No. 6,922,728 to

        Intellectual Discovery Co., Ltd.), non-infringement, validity, invalidity, enforceability, or

        unenforceability of U.S. Patent No. 6,922,728.

  14.   Please describe presentations, lecture notes, and course syllabi for courses offered by

        KAIST (or its employees, agents, parents, or subsidiaries, if any) relating to technology for

        switching or handover between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract) from December

        1996 to present.

  15.   Please explain KAIST’s relationship with or agreements or draft agreements (including

        employee policies and procedures, employment agreements, work-for-hire agreements,

        assignment agreements, licensing agreements, IP-ownership agreements, royalty

        agreements, or other agreements) between KAIST (and its employees, agents, parents, or

        subsidiaries) and Dong-Ho Cho, Intellectual Discovery Co., Ltd., KAIFI LLC, or any other

        current or former owner of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX,

        from December 1996 to present.

  16.   Please explain the policies and practices in place at KAIST concerning patent licensing or

        commercialization, dating back to December 1996, including:

        a.     written licensing policies or best practices;

        b.     the economic and technical factors considered in drafting and entering into license,

               royalty, or settlement agreements;

        c.     standard or preferred terms for license agreements;




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        d.     the process by which KAIST (or its employees, agents, parents, or subsidiaries)

               determines the nature, scope and terms of license agreements in which it is a

               licensor; and

        e.     circumstances in which KAIST has deviated from such policies.

  17.   Please describe the ownership, management, and organizational structure of KAIST,

        including the past and present relationship with Dong-Ho Cho.

  18.   Please describe the present and past electronic data and document maintenance and

        retention procedures and policies in place at KAIST, dating back to December 1996.


              WITNESS EXAMINATION QUESTIONNAIRE: Park Ho Cheul

  1.    How long have you been employed by KAIST and/or KAIST IPTC?

  2.    What are your job duties and responsibilities in Business Property Rights Management (or

        your current job duties and responsibilities if you have moved to a different group)?

  3.    What are your job duties and responsibilities in your role overseeing all of KAIST’s

        patents?

  4.    Please describe your past employment with KAIST and/or KAIST IPTC, including your

        job duties and responsibilities in each former role.

  5.    Please describe KAIST’s knowledge or awareness, and the circumstances under which

        KAIST became aware, of any of the following references:

        a.     N. Nikolaou, et al., Wireless Technologies Convergence: Results and Experience

               (2000).

        b.     K. Pahlavan, et al., Handoff in Hybrid Mobile Data Networks (2000).

        c.     U.S. Patent No. 7,039,027, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.



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        d.     U.S. Patent No. 6,243,581, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

  6.    Please describe the assignment of U.S. Patent No. 6,922,728 to Intellectual Discovery Co.,

        Ltd.

  7.    Please describe any public use, commercialization, purchase, sale, or offer for sale of the

        alleged inventions of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  8.    Please describe any license, offer for license, covenant not to sue, or settlement of or

        concerning U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or of any portfolio

        of patents containing U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  9.    Please describe any valuation prepared of U.S. Patent No. 6,922,728, Korean Patent No.

        XX-XXXXXXX, or of any portfolio of patents containing U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX.

  10.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection

        with U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  11.   Please explain the methodology used to calculate or otherwise determine revenues,

        compensation, costs, expenses, profits, and/or value of being able to switch automatically

        and without interruption between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract).

  12.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received by KAIST (or

        its employees, agents, parents, or subsidiaries) in connection with the case brought by

        KAIFI LLC against T-Mobile in the United States District Court for the Eastern District of




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        Texas, Case No. 2:20-cv-00281-JRG and KAIFI LLC against Verizon in the United States

        District Court for the Eastern District of Texas, Case No. 2:20-cv-00280-JRG.

  13.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with the assignment of U.S. Patent No. 6,922,728 to

        Intellectual Discovery Co., Ltd.), non-infringement, validity, invalidity, enforceability, or

        unenforceability of U.S. Patent No. 6,922,728.

  14.   Please describe presentations, lecture notes, and course syllabi for courses offered by

        KAIST (or its employees, agents, parents, or subsidiaries, if any) relating to technology for

        switching or handover between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract) from December

        1996 to present.

  15.   Please explain KAIST’s relationship with or agreements or draft agreements (including

        employee policies and procedures, employment agreements, work-for-hire agreements,

        assignment agreements, licensing agreements, IP-ownership agreements, royalty

        agreements, or other agreements) between KAIST (and its employees, agents, parents, or

        subsidiaries) and Dong-Ho Cho, Intellectual Discovery Co., Ltd., KAIFI LLC, or any other

        current or former owner of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX,

        from December 1996 to present.

  16.   Please explain the policies and practices in place at KAIST concerning patent licensing or

        commercialization, dating back to December 1996, including:

        a.     written licensing policies or best practices;




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        b.     the economic and technical factors considered in drafting and entering into license,

               royalty, or settlement agreements;

        c.     standard or preferred terms for license agreements;

        d.     the process by which KAIST (or its employees, agents, parents, or subsidiaries)

               determines the nature, scope and terms of license agreements in which it is a

               licensor; and

        e.     circumstances in which KAIST has deviated from such policies.

  17.   Please describe the ownership, management, and organizational structure of KAIST,

        including the past and present relationship with Dong-Ho Cho.

  18.   Please describe the present and past electronic data and document maintenance and

        retention procedures and policies in place at KAIST, dating back to December 1996.


                   WITNESS EXAMINATION QUESTIONNAIRE: Kim Hee Tae

  1.    How long have you been employed by KAIST and/or KAIST IPTC?

  2.    What are your job duties and responsibilities in Technology Marketing and Transfer (or

        your current job duties and responsibilities if you have moved to a different group)?

  3.    What are your job duties and responsibilities in your role overseeing all of KAIST’s

        patents?

  4.    Please describe your past employment with KAIST and/or KAIST IPTC, including your

        job duties and responsibilities in each former role.

  5.    Please describe KAIST’s knowledge or awareness, and the circumstances under which

        KAIST became aware, of any of the following references:

        a.     N. Nikolaou, et al., Wireless Technologies Convergence: Results and Experience

               (2000).



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        b.     K. Pahlavan, et al., Handoff in Hybrid Mobile Data Networks (2000).

        c.     U.S. Patent No. 7,039,027, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

        d.     U.S. Patent No. 6,243,581, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

  6.    Please describe the assignment of U.S. Patent No. 6,922,728 to Intellectual Discovery Co.,

        Ltd.

  7.    Please describe any public use, commercialization, purchase, sale, or offer for sale of the

        alleged inventions of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  8.    Please describe any license, offer for license, covenant not to sue, or settlement of or

        concerning U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or of any portfolio

        of patents containing U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  9.    Please describe any valuation prepared of U.S. Patent No. 6,922,728, Korean Patent No.

        XX-XXXXXXX, or of any portfolio of patents containing U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX.

  10.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection

        with U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  11.   Please explain the methodology used to calculate or otherwise determine revenues,

        compensation, costs, expenses, profits, and/or value of being able to switch automatically

        and without interruption between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract).

  12.   Please explain revenues, compensation, consideration, costs, expenses, and profits




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        (including gross and net profits) generated, received, and/or to be received by KAIST (or

        its employees, agents, parents, or subsidiaries) in connection with the case brought by

        KAIFI LLC against T-Mobile in the United States District Court for the Eastern District of

        Texas, Case No. 2:20-cv-00281-JRG and KAIFI LLC against Verizon in the United States

        District Court for the Eastern District of Texas, Case No. 2:20-cv-00280-JRG.

  13.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with the assignment of U.S. Patent No. 6,922,728 to

        Intellectual Discovery Co., Ltd.), non-infringement, validity, invalidity, enforceability, or

        unenforceability of U.S. Patent No. 6,922,728.

  14.   Please describe presentations, lecture notes, and course syllabi for courses offered by

        KAIST (or its employees, agents, parents, or subsidiaries, if any) relating to technology for

        switching or handover between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract) from December

        1996 to present.

  15.   Please explain KAIST’s relationship with or agreements or draft agreements (including

        employee policies and procedures, employment agreements, work-for-hire agreements,

        assignment agreements, licensing agreements, IP-ownership agreements, royalty

        agreements, or other agreements) between KAIST (and its employees, agents, parents, or

        subsidiaries) and Dong-Ho Cho, Intellectual Discovery Co., Ltd., KAIFI LLC, or any other

        current or former owner of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX,

        from December 1996 to present.




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  16.   Please explain the policies and practices in place at KAIST concerning patent licensing or

        commercialization, dating back to December 1996, including:

        a.     written licensing policies or best practices;

        b.     the economic and technical factors considered in drafting and entering into license,

               royalty, or settlement agreements;

        c.     standard or preferred terms for license agreements;

        d.     the process by which KAIST (or its employees, agents, parents, or subsidiaries)

               determines the nature, scope and terms of license agreements in which it is a

               licensor; and

        e.     circumstances in which KAIST has deviated from such policies.

  17.   Please describe the ownership, management, and organizational structure of KAIST,

        including the past and present relationship with Dong-Ho Cho.

  18.   Please describe the present and past electronic data and document maintenance and

        retention procedures and policies in place at KAIST, dating back to December 1996.


              WITNESS EXAMINATION QUESTIONNAIRE: Seo Moon Jong

  1.    How long have you been employed by KAIST and/or KAIST IPTC?

  2.    What are your job duties and responsibilities in Business Property Rights Management (or

        your current job duties and responsibilities if you have moved to a different group)?

  3.    What are your job duties and responsibilities in your role overseeing all of KAIST’s

        patents?

  4.    Please describe your past employment with KAIST and/or KAIST IPTC, including your

        job duties and responsibilities in each former role.




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  5.    Please describe KAIST’s knowledge or awareness, and the circumstances under which

        KAIST became aware, of any of the following references:

        a.     N. Nikolaou, et al., Wireless Technologies Convergence: Results and Experience

               (2000).

        b.     K. Pahlavan, et al., Handoff in Hybrid Mobile Data Networks (2000).

        c.     U.S. Patent No. 7,039,027, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

        d.     U.S. Patent No. 6,243,581, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

  6.    Please describe the assignment of U.S. Patent No. 6,922,728 to Intellectual Discovery Co.,

        Ltd.

  7.    Please describe any public use, commercialization, purchase, sale, or offer for sale of the

        alleged inventions of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  8.    Please describe any license, offer for license, covenant not to sue, or settlement of or

        concerning U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or of any portfolio

        of patents containing U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  9.    Please describe any valuation prepared of U.S. Patent No. 6,922,728, Korean Patent No.

        XX-XXXXXXX, or of any portfolio of patents containing U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX.

  10.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection

        with U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  11.   Please explain the methodology used to calculate or otherwise determine revenues,




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        compensation, costs, expenses, profits, and/or value of being able to switch automatically

        and without interruption between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract).

  12.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received by KAIST (or

        its employees, agents, parents, or subsidiaries) in connection with the case brought by

        KAIFI LLC against T-Mobile in the United States District Court for the Eastern District of

        Texas, Case No. 2:20-cv-00281-JRG and KAIFI LLC against Verizon in the United States

        District Court for the Eastern District of Texas, Case No. 2:20-cv-00280-JRG.

  13.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with the assignment of U.S. Patent No. 6,922,728 to

        Intellectual Discovery Co., Ltd.), non-infringement, validity, invalidity, enforceability, or

        unenforceability of U.S. Patent No. 6,922,728.

  14.   Please describe presentations, lecture notes, and course syllabi for courses offered by

        KAIST (or its employees, agents, parents, or subsidiaries, if any) relating to technology for

        switching or handover between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract) from December

        1996 to present.

  15.   Please explain KAIST’s relationship with or agreements or draft agreements (including

        employee policies and procedures, employment agreements, work-for-hire agreements,

        assignment agreements, licensing agreements, IP-ownership agreements, royalty

        agreements, or other agreements) between KAIST (and its employees, agents, parents, or




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        subsidiaries) and Dong-Ho Cho, Intellectual Discovery Co., Ltd., KAIFI LLC, or any other

        current or former owner of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX,

        from December 1996 to present.

  16.   Please explain the policies and practices in place at KAIST concerning patent licensing or

        commercialization, dating back to December 1996, including:

        a.     written licensing policies or best practices;

        b.     the economic and technical factors considered in drafting and entering into license,

               royalty, or settlement agreements;

        c.     standard or preferred terms for license agreements;

        d.     the process by which KAIST (or its employees, agents, parents, or subsidiaries)

               determines the nature, scope and terms of license agreements in which it is a

               licensor; and

        e.     circumstances in which KAIST has deviated from such policies.

  17.   Please describe the ownership, management, and organizational structure of KAIST,

        including the past and present relationship with Dong-Ho Cho.

  18.   Please describe the present and past electronic data and document maintenance and

        retention procedures and policies in place at KAIST, dating back to December 1996.


             WITNESS EXAMINATION QUESTIONNAIRE: Choi Bong Geun

  1.    How long have you been employed by KAIST and/or KAIST IPTC?

  2.    What are your job duties and responsibilities in Business Property Rights Management (or

        your current job duties and responsibilities if you have moved to a different group)?

  3.    What are your job duties and responsibilities in your role overseeing all of KAIST’s

        patents?



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  4.    Please describe your past employment with KAIST and/or KAIST IPTC, including your

        job duties and responsibilities in each former role.

  5.    Please describe KAIST’s knowledge or awareness, and the circumstances under which

        KAIST became aware, of any of the following references:

        a.     N. Nikolaou, et al., Wireless Technologies Convergence: Results and Experience

               (2000).

        b.     K. Pahlavan, et al., Handoff in Hybrid Mobile Data Networks (2000).

        c.     U.S. Patent No. 7,039,027, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

        d.     U.S. Patent No. 6,243,581, or any related patents, foreign counterparts, or

               provisional applications to which it claims priority.

  6.    Please describe the assignment of U.S. Patent No. 6,922,728 to Intellectual Discovery Co.,

        Ltd.

  7.    Please describe any public use, commercialization, purchase, sale, or offer for sale of the

        alleged inventions of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  8.    Please describe any license, offer for license, covenant not to sue, or settlement of or

        concerning U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or of any portfolio

        of patents containing U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  9.    Please describe any valuation prepared of U.S. Patent No. 6,922,728, Korean Patent No.

        XX-XXXXXXX, or of any portfolio of patents containing U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX.

  10.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection




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        with U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX.

  11.   Please explain the methodology used to calculate or otherwise determine revenues,

        compensation, costs, expenses, profits, and/or value of being able to switch automatically

        and without interruption between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract).

  12.   Please explain revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received by KAIST (or

        its employees, agents, parents, or subsidiaries) in connection with the case brought by

        KAIFI LLC against T-Mobile in the United States District Court for the Eastern District of

        Texas, Case No. 2:20-cv-00281-JRG and KAIFI LLC against Verizon in the United States

        District Court for the Eastern District of Texas, Case No. 2:20-cv-00280-JRG.

  13.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with the assignment of U.S. Patent No. 6,922,728 to

        Intellectual Discovery Co., Ltd.), non-infringement, validity, invalidity, enforceability, or

        unenforceability of U.S. Patent No. 6,922,728.

  14.   Please describe presentations, lecture notes, and course syllabi for courses offered by

        KAIST (or its employees, agents, parents, or subsidiaries, if any) relating to technology for

        switching or handover between “indoor” and “outdoor” networks as those terms are used

        in U.S. Patent No. 6,922,728 (see U.S. Patent No. 6,922,728, Abstract) from December

        1996 to present.

  15.   Please explain KAIST’s relationship with or agreements or draft agreements (including

        employee policies and procedures, employment agreements, work-for-hire agreements,




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        assignment agreements, licensing agreements, IP-ownership agreements, royalty

        agreements, or other agreements) between KAIST (and its employees, agents, parents, or

        subsidiaries) and Dong-Ho Cho, Intellectual Discovery Co., Ltd., KAIFI LLC, or any other

        current or former owner of U.S. Patent No. 6,922,728 or Korean Patent No. XX-XXXXXXX,

        from December 1996 to present.

  16.   Please explain the policies and practices in place at KAIST concerning patent licensing or

        commercialization, dating back to December 1996, including:

        a.      written licensing policies or best practices;

        b.      the economic and technical factors considered in drafting and entering into license,

                royalty, or settlement agreements;

        c.      standard or preferred terms for license agreements;

        d.      the process by which KAIST (or its employees, agents, parents, or subsidiaries)

                determines the nature, scope and terms of license agreements in which it is a

                licensor; and

        e.      circumstances in which KAIST has deviated from such policies.

  17.   Please describe the ownership, management, and organizational structure of KAIST,

        including the past and present relationship with Dong-Ho Cho.

  18.   Please describe the present and past electronic data and document maintenance and

        retention procedures and policies in place at KAIST, dating back to December 1996.


              WITNESS EXAMINATION QUESTIONNAIRE: Sung-Chul Shin

  1.    How long have you been employed by KAIST?

  2.    What are your job duties and responsibilities as President of KAIST (or in your current

        role, if not President)?



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  3.    What was your role in the investigations relating to Professor Dong-Ho Cho’s participation

        in what have been described as fake academic conferences, including OMICS?

  4.    Please describe the “Minutes of Special Committee for Investigating and Validating Fake

        Academic Conferences” prepared by You with respect to KAIST’s investigation relating

        to Professor Dong-Ho Cho’s participation in what have been described as fake academic

        conferences, including OMICS, as mentioned in Hankook-Ilbo’s online news article

        provided at the following link:

        https://www.hankookilbo.com/News/Read/201910101608378144?did=NA&dtype=&dty

        pecode=&prnewsid.

  5.    What were KAIST’s findings as to Dong-Ho Cho’s participation in what have been

        described as fake academic conferences, including OMICS?

  6.    What was the discipline or sanction or any unfavorable disposition applied to Dong-Ho

        Cho by KAIST due to his participation in what have been described as fake academic

        conferences, including OMICS?




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